 1   Jillian Hindo (027718)
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 2   20235 N. 51st Ave., Suite 166
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 3   Phone: (602) 377-9369
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 4   Email: jillian@hindolaw.com
     Attorney for Debtor(s)
 5
                           IN THE UNITED STATES BANKRUPTCY COURT
 6
                                   FOR THE DISTRICT OF ARIZONA
 7
     In re:                                              Chapter 13 Proceedings
 8
     JAMES ANTHONY HIGUERA                               Case No: 2:20-bk-01061-SHG
 9
                    Debtor.                              MOTION FOR ACCELERATED
10                                                       HEARING ON MOTION FOR
                                                         EXTENSION OF THE AUTOMATIC
11                                                       STAY

12            COMES NOW, James Anthony Higuera (“Debtor”), by and through counsel undersigned
13   and hereby moves this Honorable Court for an Accelerated Hearing on the Motion for Extension of
14   the Automatic Stay filed the 3rd day of February, 2020 for the reason that 11 U.S.C. § 362 (c)(3)(B)
15   requires that notice and hearing be completed before the expiration of thirty (30) days after the
16   filing of Debtor’s Chapter 13 Bankruptcy Case.
17            RESPECTFULLY SUBMITTED this 3rd day of February, 2020.
18

19
                                                   HINDO LAW GROUP, PLLC
20
                                                   By:     /s/ Jillian Hindo
21                                                         Jillian Hindo (027718)
                                                           20235 N. 51ST Ave., Suite 166
22                                                         Glendale, AZ 85308
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     ORIGINAL of the foregoing
 2   electronically filed with the
     Clerk of the Court this
 3   3rd day of February, 2020.

 4   COPIES of the foregoing
     mailed this 3rd day of February, 2020 to:
 5
     Trustee
 6   Edward J. Maney
     101 N First Ave, Suite 1775
 7   Phoenix, AZ 85003

 8   United States Trustee
     Office of the U.S. Trustee
 9   230 N. 1st Ave. Ste. #204
     Phoenix, AZ 85003-1725
10
     James Anthony Higuera
11   5233 W. Carol Ave
     Glendale, AZ 85302
12

13   By:    /s/
            Jillian Hindo, Attorney
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